  Case 1:13-cv-02948-JBS-KMW Document 10 Filed 09/04/13 Page 1 of 1 PageID: 36


                          iN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  HARRY SIERS,
                         Plaintiff,
          v.                                  :       Civil Action No.: 13-2948 (JBS-KMW)

  Enhanced Recovery Company, LLC; and               JOINT STIPULATION OF DISMISSAL
  DOES 1-10, inclusive,

                         Defendants.

        WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

        WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

        WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

        IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 4l(a)(l)(A)(ii), the above-captioned action

is hereby discontinued against Enhanced Recovery Company, LLC and Does 1-10, inclusive,

and request the Court to enter an Order Dismissing this case, with prejudice, with each party to

bear his or its own respective costs.

Harry Siers                                          Enhanced Recovery Company, LLC

  Is! Sofia Balile                                  Is! Laura A. Laughlin
Sofia Balile, Esq.                                  Laura A. Laughlin, Esq.
NJ Bar No. 01093                                    Smith, Gambrell & Russell, LLP
LEMBERG & ASSOCIATES                                250 Park Avenue, Suite 1900
1100 Summer Street, 3  rd
                          Floor                     New York, NY 10177
Stamford, CT 06905                                  (212) 907-9700
653-2250                                            Attorneys for Defendants
Attorney for Plaintiff

                                                   So Ordered this    3rd day of September         ,   2013

                                                   ç
                                                   4 4                             Y-
                                                   rome B. Simandle, Chief U.S. District Judge
